                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI


BILLIE RODRIGUEZ, DANIEL ERWIN, MICHAEL
B. ACKERMAN, and KYLE FOREMAN,
individually and on behalf of all others similarly
situated,

        Plaintiffs,

v.

EXXON MOBIL CORPORATION,                                    Case No.: 4:24-cv-00803-SRB
CHEVRON USA INC., CHEVRON PHILLIPS
CHEMICAL CORPORATION, DUPONT de
NEMOURS, INC., DUPONT CORPORATION,
CELANESE CORPORATION, DOW INC., DOW
CHEMICAL COMPANY, EASTMAN CHEMICAL
COMPANY, LYONDELLBASELL INDUSTRIES
N.V., and AMERICAN CHEMISTRY COUNCIL,

        Defendants.


                      CONSENT MOTION TO EXTEND
         TIME TO RESPOND TO PLAINTIFFS’ CLASS ACTION COMPLAINT

       Specially Appearing Defendant Dupont de Nemours, Inc., 1 by and through counsel,

respectfully moves the Court to enter an Order extending DuPont’s deadline to respond to plaintiffs’

Class Action Complaint (“Complaint”) by thirty (30) days, to and including February 10, 2025. As

discussed below, counsel for plaintiffs has consented to the relief requested in this Motion.

       In support of this Motion, DuPont states as follows:


1
 DuPont does not concede jurisdiction is proper in the Western District of Missouri, and this
Consent Motion does not prevent DuPont from subsequently filing a Rule 12(b) motion, including
but not limited to motions challenging personal jurisdiction under Rule 12(b)(2). DuPont explicitly
preserves all defenses under Fed. R. Civ. P. 12(b), including, but not limited to, 12(b)(2) and
intends to file such motions. See Fed. R. Civ. P. 12(h)(1); see also Montin v. Gibson, No.
4:09CV3153, 2010 WL 2287572, at *2 (D. Neb. June 3, 2010) (citations omitted); Lewis & Clark
Reg'l Water Sys., Inc. v. Carstensen Contracting, Inc., 355 F. Supp. 3d 880, 886-88 (D.S.D. 2018).


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       1.      DuPont was served with plaintiffs’ Complaint on December 20, 2024. DuPont

currently has up to and including this Friday, January 10, 2025, in which to file an Answer or

otherwise respond to plaintiff’s Complaint. The time for filing has not yet expired.

       2.      Plaintiffs’ Complaint is 92 pages long and contains 45 counts, alleges two nationwide

putative classes and 35 putative state classes.

       3.      Due to the timing of service, a few days prior to commencement of the Chanukah,

Christmas, Kwanza, and New Year holidays (“holidays”), and the complexity of plaintiffs’

Complaint, DuPont has requested additional time to prepare its response to plaintiffs’ Complaint.

       4.      For similar reasons, plaintiffs and defendant Exxon Mobil Corporation (“Exxon”)

have also sought an extension of Exxon’s deadline to respond to plaintiffs’ Complaint for thirty (30)

days, up to and including February 10, 2025. ECF No. 13. The Court granted their motion on January

6, 2025. ECF No. 14.

       5.      Plaintiffs and DuPont have conferred regarding the relief requested herein. In an e-

mail exchange on January 7, 2025, Rachel Raphael, one of DuPont’s attorneys, requested an

extension of time for DuPont to respond to plaintiffs’ Complaint, and Rex Sharp, one of plaintiff’s

attorneys, agreed to the relief requested in this Motion.

       6.      This Consented Motion is not filed for purposes of delay, but rather in a good faith

effort to extend the current response deadline, up to and including, February 10, 2025, in light of the

impact of the holidays, the complexity of plaintiffs’ Complaint, and the interests of efficiency and

justice so that DuPont may fully and adequately investigate and respond to the allegations contained

in the Complaint.




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       WHEREFORE, the Parties respectfully move the Court to enter an Order granting the relief

requested in this motion and extending DuPont’s time to respond to plaintiff’s Complaint for a period

of thirty (30) days, to and including February 10, 2025.

Dated: January 9, 2025                                Respectfully submitted,

                                                      /s/ Kara T. Stubbs
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                                                      Inc.

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                                CERTIFICATE OF SERVICE

        I hereby certify that on January 9, 2025 I electronically filed the foregoing document with
the Court via CM/ECF, which will automatically send notice and a copy of the same to counsel of
record via electronic mail.

                                                            /s/ Kara T. Stubbs

                                                            An attorney for Defendant
                                                            Dupont de Nemours, Inc.




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